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                               UNITED STATES DISTRICT COURT

                                    DISTRICT OF MINNESOTA


United States of America,                                         Crim. No. 06-32 (1) (RHK/SRN)

                Plaintiff,
        v.                                                     MEMORANDUM AND ORDER

Alberto Zatarain,

                Defendant.


        Defendant has filed a notice of appeal, (Docket No. 127), seeking direct appellate review of his

conviction and sentence in this matter. The case is presently before the Court on Defendant’s application

seeking leave to proceed in forma pauperis, (“IFP”), on appeal. (Docket No. 129.)

        To qualify for IFP status on appeal, a party must submit financial information demonstrating that

he or she is indigent. Fed. R. App. P. 24(a); 28 U.S.C. § 1915(a)(1). Even if the party is found to be

indigent, however, IFP status will be denied if the Court finds that his or her appeal is not taken in “good

faith.” 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24(a)(3). Good faith in this context is judged by an

objective standard and not by the subjective beliefs of the appellant. Coppedge v. United States, 369 U.S.

438, 444-45 (1962). To determine whether an appeal is taken in good faith, the Court must decide

whether the claims to be decided on appeal are factually or legally frivolous. Id. An appeal is frivolous,

and therefore cannot be taken in good faith, “where it lacks an arguable basis either in law or in fact.”

Neitzke v. Williams, 490 U.S. 319, 325 (1989).

        In this case, Defendant’s IFP application shows that he has no source of income at this time, and

he has no assets that could be used to pay the $455 filing fee for his appeal. Based on the representations
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made in Defendant’s IFP application, the Court finds that he is financially eligible for IFP status on appeal.

        Although the Court remains satisfied that Defendant was properly convicted and sentenced, his

case does not fall within the Supreme Court’s definition of “frivolous.” Therefore, Defendant’s appeal is

found to be taken “in good faith” for purposes 28 U.S.C. § 1915(a)(3) and Fed. R. App. P. 24(a)(3), and

his IFP application will be granted.

        Based upon the foregoing, and all of the files, records and proceedings herein,

        IT IS HEREBY ORDERED that:

        Defendant’s motion to proceed in forma pauperis on appeal, (Docket No. 129), is GRANTED.


Dated: October 18 , 2006


                                                                   s/Richard H. Kyle
                                                                   RICHARD H. KYLE
                                                                   United States District Court Judge




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